             Case 2:10-cr-00425-MCE Document 123 Filed 05/03/12 Page 1 of 2


 1 Charles E. Bauer (SBN 124163)
   LAW OFFICE OF CHARLES E. BAUER
 2 1007 Seventh Street, Suite 218
   Sacramento, California 95814
 3 (916) 443-0529; fax (916) 930-0477
 4 Attorney for Marcario Barrigan Ayala
 5
 6                         IN THE UNITED STATES DISTRICT COURT
 7                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9 UNITED STATES OF AMERICA,                             2:10-CR-00425 MCE
10                 Plaintiff,
11          vs.                                          STIPULATION AND ORDER TO
                                                         CONTINUE JUDGMENT AND
12 MARCARIO BARRIGAN AYALA,                              SENTENCING
13               Defendant.
     __________________________________/
14
                                             STIPULATION
15
            Plaintiff, United States of America, by and through its counsel, Assistant United States
16
     Attorney Paul A. Hemesath; and defendant Marcario Barrigan Ayala, by and through his counsel,
17
     Charles E. Bauer, agree and stipulate to vacate the date set for Judgment and Sentencing, May 3,
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     2012 at 9:00 a.m. in the above captioned matter, and to continue Judgment and Sentencing to
19
     May 17, 2012 at 9:00 a.m. in the courtroom of the Honorable Morrison C. England, Jr.
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            The reason for this request is that Mr. Hemesath is in trial and defense counsel has agreed
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     to an extension of time for Judgment and Sentencing so that Mr. Hemesath may consider
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     defendant’s proposed testimony pursuant to Guideline 5K.
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 1         Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 2 IT IS SO STIPULATED.
 3 Dated: May 1, 2012                                    BENJAMIN WAGNER
                                                         United State Attorney
 4
                                                         By:____/s/ Paul A. Hemesath________
 5                                                             PAUL A. HEMESATH
                                                               Assistant United State Attorney
 6
 7 Dated: May 1, 2012                                    ______ /s/ Charles E. Bauer________
                                                               CHARLES E. BAUER
 8                                                             Attorney for Defendant
                                                               MARCARIO BARRIGAN AYALA
 9
10
11         Time is excluded through and including May 17, 2012 , in the interests of justice pursuant
12 to 18 U.S.C. §3161(h)(7)(B)(iv) and Local Code T4. The Court specifically finds that the ends of
13 justice served by taking the action ordered outweigh the best interest of the public and the
14 defendant in a speedy trial.
15
           IT IS SO ORDERED.
16
17
     Dated: May 3, 2012
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                                                  ________________________________
19                                                MORRISON C. ENGLAND, JR.
                                                  UNITED STATES DISTRICT JUDGE
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